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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA
____________________________________
                                     )
RICHARD SMITH                        )
                                     )
                  Plaintiff,         )
      v.                             )
                                     )  Case No. 2:20-cv-00818
                                     )
ROBERT TANNER, et al.                )
                                     )
                  Defendants,        )
____________________________________)

                   EX PARTE MOTION FOR ADMISSION PRO HAC VICE

        In accordance with Local Civil Rule 83.2.5, the undersigned William Most, counsel of

record for Plaintiff, respectfully requests that this Court permit attorney Sarah Grady to appear

and participate pro hac vice as counsel on behalf of the plaintiff in this case.

                                             DISCUSSION

        1.      Sarah Grady is a licensed attorney admitted to practice in the state of Illinois. She

is a member in good standing of the Bar of the State of Illinois.

        2.      Pursuant to Local Civil Rule 83.2.5 a Certificate of Good Standing in the

Northern District of Illinois is attached here as Exhibit A.

        WHEREFORE, William Most, a member of the bar of this Court in good standing, prays

that this court enter an order permitting Sarah Grady to appear pro hac vice for Plaintiffs in the

above-captioned matter.

                                                 Respectfully submitted,

                                                 /s/ William Most_________
                                                 WILLIAM MOST
                                                 Law Office of William Most, L.L.C.
                                                 Louisiana Bar No. 36914
                                                 201 St. Charles Ave., Ste. 114 #101


Motion for Pro Hac Vice Admission of Sarah Grady 1
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                                                 New Orleans, LA 70170
                                                 Tel: (650) 465-5023
                                                 Email: williammost@gmail.com



                                   CERTIFICATE OF SERVICE

        I hereby certify that on March 13, 2020, a copy of Plaintiffs’ Ex Parte Motion for

Admission Pro Hac Vice was filed electronically with the Clerk of Court via the CM/ECF

system. Notice of this filing will be sent to all counsel of record by operation of the court’s

electronic filing system.


                                              _/s/David Lanser
                                                 David Lanser




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